                                      Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 1 of 95
                                                          INFRINGEMENT CONTENTIONS
                                                        U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                     Corresponding Structure in Accused Systems
1. A system             Each combination having at least one item listed on Exhibit A, at least one item listed on Exhibit B, and at least one item listed
including:              on Exhibit C is a system (hereafter “Accused System”).
                        For purposes of these infringement contentions, a wireless network comprises at least: (1) Radio Access Network comprising at
                        least one base station controller, at least one transceiver, and at least one antenna; (2) a system of computers, the system of
                        computers comprising computers associated with the at least one base station controller(s); computers functioning for network
                        optimization, including at least computers implementing D-SON, C-SON); and, computers functioning for locating wireless
                        devices; and, (3) one or more wireless devices. 1
                        The exhibits and attachments are not included with this complaint as adequate notice is provided. The exhibits and attachments
                        will accompany the infringement contentions. There is no requirement that each computer of the system of computers locates a
                        UE.
                        Because infringement liability is not dependent on ownership, e.g., use of a system can infringe (35 U.S.C. § 271), infringement
                        is not dependent on ownership of all limitations of a claim.
at least one radio-     Plaintiff contends each item listed on Exhibit A corresponds to this claim limitation because each Exhibit-A item is a base
  frequency             station. Base stations include at least one radio-frequency transceiver designed and used in association with at least one antenna.
  transceiver and an    When base-station transceivers and antennas are in communication, they are coupled. Further, in addition to being so coupled,
  associated at least   the transceivers and antenna of each Exhibit-A item are also, by placement within a base station, physically coupled.
  one antenna to        The following exemplifies this limitation’s existence in Accused Systems:
  which the at least
  one radio-
  frequency
  transceiver is
  coupled,




                1
                 A wireless device is considered within the wireless network when in RF communication. However, a processor of such
        wireless device may also be considered outside or inside the network.



        Infringement-Contentions Chart                                                                                                 Page 1 of 95
        ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 2 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 4 (T-Mobile Wi-Fi Calling for Government (2009)) at 1.




 Infringement-Contentions Chart                                                                   Page 2 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 3 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 5 (Journey to 5G –T-Mobile US Perspective) at 6.




                 Id. at 11.



 Infringement-Contentions Chart                                                                   Page 3 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 4 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 6 (T-Mobile Towers Co-Location Construction Standards (2009)) at 21.




 Infringement-Contentions Chart                                                                    Page 4 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 5 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 7 (4G LTE CellSpot® Quick Start Guide (2015)) at 1.




 Infringement-Contentions Chart                                                                   Page 5 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 6 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Id. at 2.




                 Attachment 3 (T-Mobile Announces LTE, Prepares To Take The US Wireless Market By Storm (Webpage, 2012)) at 2.


 Infringement-Contentions Chart                                                                               Page 6 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                      Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 7 of 95
                                                        INFRINGEMENT CONTENTIONS
                                                      U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                   Corresponding Structure in Accused Systems
wherein the at least    Plaintiff contends each item listed on Exhibit A corresponds to this claim limitation because each Exhibit-A item is a base
 one radio-             station having a RF transceiver whose parameters have been configured for RF communication with mobile wireless
 frequency              communications devices (specifically one or more of the mobile wireless communications devices identified on Exhibit B).
 transceiver is         The following exemplifies this limitation’s existence in Accused Systems:
 configured for
 radio-frequency
 communication
 with at least one
 mobile wireless
 communications
 device; and




                        Attachment 4 (T-Mobile Wi-Fi Calling for Government (2009)) at 1.




        Infringement-Contentions Chart                                                                                          Page 7 of 95
        ’175-Patent Claim 1; T-Mobile Defendant
                               Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 8 of 95
                                                INFRINGEMENT CONTENTIONS
                                              U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 5 (Journey to 5G –T-Mobile US Perspective) at 6.




                 Id. at 11.


 Infringement-Contentions Chart                                                                   Page 8 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                      Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 9 of 95
                                                          INFRINGEMENT CONTENTIONS
                                                        U.S. PATENT NO. 10,390,175 – CLAIM 1

       Claim 1                                                    Corresponding Structure in Accused Systems
a system of             Plaintiff contends that a system of computers comprises wireless device location elements, including but not limited to one or
  computers coupled     more of position determination entities (PDE), mobile location/positioning centers, mobile switching center, location proxy
  to the at least one   servers, locations applications, location agents, GPS server, Wi-Fi server, home location register, visiting location register, one
  radio-frequency       or more of which are used in locating a wireless device. The various location elements are Nokia components, Nokia
  transceiver           subsidiaries or family of companies, vendors, partners and the like. The various location elements are meant to work across one
  programmed to         or more of all technologies, including 2G, 3G, 4G, and 5G.
  locate the at least
  one mobile            Another portion of the system of computers may be executing or loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct)
  wireless              solution is capable of locating and acquiring an indication of a location of at least one mobile wireless communications device.
  communications        The system of computers is coupled to at least one RF transceiver (i.e., Base-Station, eNodeB, etc.).
  device and acquire    Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution has software code specifically designed for use by one or more
  an indication of a    computers. Further, Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution is designed to and does provide programming
  location of the at    that allows the system when coupled to a base station (i.e., eNB with antenna) to locate a mobile wireless communications
  least one mobile      device(s) and generate or acquire an indication of location(s) of that device(s).
  wireless              The system loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution collects UE location information as well as
  communications        network performance measurements, stores the location information and performance measurements in a memory.
  device,               Thus, the wireless communications network comprises a system of computers executing or loaded with Nokia Eden-Net (or
                        Nokia iSON or Nokia NetAct) solution is part of a package of software suites. The package of software can be implemented in
                        macrocells, small cells, and femtocells to Universal Mobile Telecommunications Service (UMTS), Long-Term Evolution
                        (LTE), Global System for Mobile Communications (GSM), and Wi-Fi technologies. Many of these network systems,
                        particularly the cells include base stations for transmission and reception of wireless signals to and from the mobile wireless
                        communication devices or UEs or user devices (mobile phones, laptops, tablets, PDAs etc.). These base stations are, therefore,
                        RF transceivers. Also, these base stations are coupled with at least one antenna for the function of transmission and reception.
                        The following exemplifies this limitation’s existence in Accused Systems:




        Infringement-Contentions Chart                                                                                                 Page 9 of 95
        ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 10 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 4 (T-Mobile Wi-Fi Calling for Government (2009)) at 1.




 Infringement-Contentions Chart                                                                   Page 10 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 11 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 5 (Journey to 5G –T-Mobile US Perspective) at 11.




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 5.




 Infringement-Contentions Chart                                                                   Page 11 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 12 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 37.




 Infringement-Contentions Chart                                                                  Page 12 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 13 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 38.


 Infringement-Contentions Chart                                                                  Page 13 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 14 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 39.




 Infringement-Contentions Chart                                                                  Page 14 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 15 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 9.




 Infringement-Contentions Chart                                                                  Page 15 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 16 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 12.




 Infringement-Contentions Chart                                                                  Page 16 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 17 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 4.




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 Infringement-Contentions Chart                                                                   Page 17 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 18 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 6.




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 8 and 9.




 Infringement-Contentions Chart                                                                     Page 18 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 19 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 2 (T-Mobile’s Implementation Plan and 18 Month Status Report For Implementing the Federal
                 Communication Commission’s Fourth Report and Order on Wireless E911 Location Accuracy Requirements (2017)) at
                 16 and 17.




 Infringement-Contentions Chart                                                                             Page 19 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 20 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 2 (T-Mobile’s Implementation Plan and 18 Month Status Report For Implementing the Federal
                 Communication Commission’s Fourth Report and Order on Wireless E911 Location Accuracy Requirements (2017)) at
                 17.




                 Attachment 8 (About T-Mobile – Location Services (Webpage, 2014)) at 2 of 6.

 Infringement-Contentions Chart                                                                             Page 20 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 21 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 8 (About T-Mobile – Location Services (Webpage, 2014)) at 2 & 3 of 6.


 Infringement-Contentions Chart                                                                     Page 21 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 22 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 308 and 309.




 Infringement-Contentions Chart                                                                             Page 22 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 23 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems
                 …




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 Infringement-Contentions Chart                                                                  Page 23 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 24 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                          Corresponding Structure in Accused Systems
                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 63 and 64.




                 Attachment 13 (Minimization of Drive Test (MDT) An Innovative Methodology for Measuring Customer Performance
                 on Mobile Network (2016)) at 5.




 Infringement-Contentions Chart                                                                            Page 24 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 25 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 18 (LTE RAN Release RL70 Feature Candidate Document (2013)) at 42.

 Infringement-Contentions Chart                                                                  Page 25 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                     Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 26 of 95
                                                        INFRINGEMENT CONTENTIONS
                                                      U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                      Corresponding Structure in Accused Systems
wherein the system      Plaintiff contends that the system of computers executing or loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct)
 of computers           solution; and operating, implementing and supporting SON solution in the wireless telecommunications network, corresponds to
 further receives       this claim limitation, as the system of computers executing or loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct)
 and stores             solution receives performance data of connections between the one or more mobile wireless communications devices and radio
 performance data       frequency transceivers (i.e., base-stations or radio towers) from the MDT (Minimization of Drive Tests) reports, UE
 of connections         Measurement Reports, etc. and stores the performance data along with indication of the location.
 between the at         Nokia Eden-Net (or Nokia iSON or Nokia NetAct) software codes are programmed to store the performance data and
 least one mobile       corresponding location for a wireless device in a memory associated with the system of computers because the software codes
 wireless               are programmed to collect performance measurements pertaining to qualitative and quantitative aspects of the operation of
 communications         wireless network.
 device and the at      The system of computers installed or compatible with Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution routinely
 least one radio        receives performance measurements pertaining to qualitative and quantitative aspects (for example, expressed in terms of Key
 frequency              Performance Indicators or KPIs, Performance Statistics, Performance Indicator, etc.) of RF-based interactions between the UEs
 transceiver along      and the base-stations which can include performance data along with location information of mobile wireless communications
 with the indication    devices. Further, the collected data is stored in a cache.
 of the location,       The system of computers comprises computers associated with the at least one base station controller(s); computers functioning
                        for network optimization, including at least computers implementing D-SON and C-SON; and, computers functioning for
                        locating wireless devices. There is no requirement that each computer of the system of computers locates a UE.
                        The following exemplifies this limitation’s existence in Accused Systems:




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        Infringement-Contentions Chart                                                                                           Page 26 of 95
        ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 27 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 6.




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 8 and 9.




 Infringement-Contentions Chart                                                                     Page 27 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 28 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems




                 Attachment 1 (T-Mobile Privacy Statement Highlights (Webpage, 2016)) at 5.




 Infringement-Contentions Chart                                                                   Page 28 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 29 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 10.




 Infringement-Contentions Chart                                                                  Page 29 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 30 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 24.




 Infringement-Contentions Chart                                                                  Page 30 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 31 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 38.


 Infringement-Contentions Chart                                                                  Page 31 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 32 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 39.




 Infringement-Contentions Chart                                                                  Page 32 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 33 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 41.




 Infringement-Contentions Chart                                                                  Page 33 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 34 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 13 (Minimization of Drive Test (MDT) An Innovative Methodology for Measuring Customer Performance
                 on Mobile Network (2016)) at 7.




 Infringement-Contentions Chart                                                                            Page 34 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 35 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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 Infringement-Contentions Chart                                                                  Page 35 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 36 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 13 (Minimization of Drive Test (MDT) An Innovative Methodology for Measuring Customer Performance
                 on Mobile Network (2016)) at 9 and 10.




 Infringement-Contentions Chart                                                                            Page 36 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 37 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 42.




 Infringement-Contentions Chart                                                                  Page 37 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 38 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 …




                 …




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 308 and 309.




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 Infringement-Contentions Chart                                                                             Page 38 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 39 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 …




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 63 and 64.

 Infringement-Contentions Chart                                                                           Page 39 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                    Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 40 of 95
                                                         INFRINGEMENT CONTENTIONS
                                                       U.S. PATENT NO. 10,390,175 – CLAIM 1

     Claim 1                                                   Corresponding Structure in Accused Systems




                       Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 66.




                       Attachment 15 (LTE Coverage and Capacity Optimization Guide (2017)) at 8.
wherein the system     Plaintiff contends that a system of computers comprises wireless device location elements, including but not limited to one or
 of computers,         more of position determination entities (PDE), mobile location/positioning centers, mobile switching center, location proxy
 responsive to a       servers, locations applications, location agents, GPS server, Wi-Fi server, home location register, visiting location register, one
 first user input      or more of which are used in locating a wireless device. The various location elements are Nokia components, Nokia
 specifying a          subsidiaries or family of companies, vendors, partners and the like. The various location elements are meant to work across one
 selection between     or more of all technologies, including 2G, 3G, 4G, and 5G. The system of computers can be toggled or switched between an
 operating in an       active mode and a passive mode for tracking a wireless device.

       Infringement-Contentions Chart                                                                                               Page 40 of 95
       ’175-Patent Claim 1; T-Mobile Defendant
                                   Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 41 of 95
                                                      INFRINGEMENT CONTENTIONS
                                                    U.S. PATENT NO. 10,390,175 – CLAIM 1

     Claim 1                                                 Corresponding Structure in Accused Systems
active mode or a
passive mode,         The system of computers comprises computers associated with the at least one base station controller(s); computers functioning
                      for network optimization, including at least computers implementing D-SON and C-SON; and, computers functioning for
                      locating wireless devices. There is no requirement that each computer of the system of computers locates a UE.
                      Another portion of the system of computers may be executing or loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct)
                      solution; and operating, implementing and supporting the wireless telecommunications network, corresponds to this claim
                      limitation, as the system of computers executing or loaded with Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution
                      receives user’s or operator’s input specifying a selection between operating in different modes or methods such as signaling-
                      based MDT, management-based MDT, etc. (for example, Signalling Based Immediate MDT, Signalling Based Logged MDT,
                      Management Based Immediate MDT, Management Based Logged MDT, etc.). The following exemplifies this limitation’s
                      existence in Accused Systems:




                      Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 10.


      Infringement-Contentions Chart                                                                                           Page 41 of 95
      ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 42 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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 Infringement-Contentions Chart                                                                  Page 42 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 43 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 308 and 309.




 Infringement-Contentions Chart                                                                             Page 43 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 44 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 66.




 Infringement-Contentions Chart                                                                    Page 44 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 45 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                               Corresponding Structure in Accused Systems
                 Attachment 12 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace control and configuration
                 management (3GPP TS 32.422 version 10.10.0 Release 10) (2013)) at 10.




                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.




 Infringement-Contentions Chart                                                                                Page 45 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 46 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.




 Infringement-Contentions Chart                                                                  Page 46 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 47 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 12.




 Infringement-Contentions Chart                                                                  Page 47 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 48 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems
                 …




                 …




 Infringement-Contentions Chart                                                                  Page 48 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 49 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 8 and 9.




 Infringement-Contentions Chart                                                                  Page 49 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 50 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 7.



 Infringement-Contentions Chart                                                                  Page 50 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 51 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 10.

 Infringement-Contentions Chart                                                                  Page 51 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 52 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 11.




 Infringement-Contentions Chart                                                                  Page 52 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 53 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 18 (LTE RAN Release RL70 Feature Candidate Document (2013)) at 42.




 Infringement-Contentions Chart                                                                  Page 53 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                    Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 54 of 95
                                                         INFRINGEMENT CONTENTIONS
                                                       U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                  Corresponding Structure in Accused Systems




                       Attachment 13 (Minimization of Drive Test (MDT) An Innovative Methodology for Measuring Customer Performance
                       on Mobile Network (2016)) at 5.
wherein the system     Plaintiff contends that a system of computers comprises wireless device location elements, including but not limited to one or
 of computers,         more of position determination entities (PDE), mobile location/positioning centers, mobile switching center, location proxy
 responsive to         servers, locations applications, location agents, GPS server, Wi-Fi server, home location register, visiting location register, one
 selection of the      or more of which are used in locating a wireless device. The various location elements are Nokia components, Nokia
 active mode,          subsidiaries or family of companies, vendors, partners and the like. The various location elements are meant to work across one
 receives a second     or more of all technologies, including 2G, 3G, 4G, and 5G. The system of computers can be toggled or switched between an
 user input            active mode and a passive mode for tracking a wireless device.

       Infringement-Contentions Chart                                                                                               Page 54 of 95
       ’175-Patent Claim 1; T-Mobile Defendant
                                   Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 55 of 95
                                                       INFRINGEMENT CONTENTIONS
                                                     U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                   Corresponding Structure in Accused Systems
specifying the at     Plaintiff contends that the user or operator by using another portion of the system of computers that may be executing or loaded
least one mobile      with Nokia Eden-Net (or Nokia iSON or Nokia NetAct) solution can specify at least one mobile wireless communications
wireless              device to track as well as a time period to track the at least one mobile wireless communications device by selecting methods
communications        such as signaling-based MDT, management-based MDT, etc. Further, a file or a record is generated containing location(s) of the
device to track and   at least one mobile wireless communications device for the specified time period.
a time period to      The following exemplifies this limitation’s existence in Accused Systems:
track the at least
one mobile
wireless
communications
device and
generates a case
file containing
locations of the at
least one mobile
wireless
communications
device over the
specified time
period, and




      Infringement-Contentions Chart                                                                                             Page 55 of 95
      ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 56 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 18 (LTE RAN Release RL70 Feature Candidate Document (2013)) at 42.




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 Infringement-Contentions Chart                                                                  Page 56 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 57 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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 Infringement-Contentions Chart                                                                  Page 57 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 58 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 308 and 309.




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 66.


 Infringement-Contentions Chart                                                                             Page 58 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 59 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 12 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace control and configuration
                 management (3GPP TS 32.422 version 10.10.0 Release 10) (2013)) at 10.




 Infringement-Contentions Chart                                                                                Page 59 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 60 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 18.




 Infringement-Contentions Chart                                                                  Page 60 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 61 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.




                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.



 Infringement-Contentions Chart                                                                  Page 61 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 62 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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                 Attachment 17 (Tracing LTE RAN System (2012)) at 12.


 Infringement-Contentions Chart                                                                  Page 62 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 63 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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 Infringement-Contentions Chart                                                                  Page 63 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 64 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 8 and 9.




 Infringement-Contentions Chart                                                                  Page 64 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 65 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 7.



 Infringement-Contentions Chart                                                                  Page 65 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 66 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 11.




                 Attachment 17 (Tracing LTE RAN System (2012)) at 16 and 17.




 Infringement-Contentions Chart                                                                  Page 66 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 67 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 13 (Minimization of Drive Test (MDT) An Innovative Methodology for Measuring Customer Performance
                 on Mobile Network (2016)) at 5.




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 Infringement-Contentions Chart                                                                            Page 67 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 68 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 …




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 Infringement-Contentions Chart                                                                  Page 68 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 69 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems


                 Attachment 11 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace concepts and requirements
                 (3GPP TS 32.421 version 10.6.0 Release 10) (2013)) at 8 and 9.




                 Attachment 11 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace concepts and requirements
                 (3GPP TS 32.421 version 10.6.0 Release 10) (2013)) at 6.


 Infringement-Contentions Chart                                                                                Page 69 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                                     Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 70 of 95
                                                          INFRINGEMENT CONTENTIONS
                                                        U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                   Corresponding Structure in Accused Systems




                        Attachment 11 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                        (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace concepts and requirements
                        (3GPP TS 32.421 version 10.6.0 Release 10) (2013)) at 22.
                        Plaintiff contends that a system of computers comprises wireless device location elements, including but not limited to one or
wherein the system
                        more of position determination entities (PDE), mobile location/positioning centers, mobile switching center, location proxy
 of computers,
 responsive to          servers, locations applications, location agents, GPS server, Wi-Fi server, home location register, visiting location register, one
                        or more of which are used in locating a wireless device. The various location elements are Nokia components, Nokia
 selection of the
                        subsidiaries or family of companies, vendors, partners and the like. The various location elements are meant to work across one
 passive mode,
                        or more of all technologies, including 2G, 3G, 4G, and 5G. The system of computers can be toggled or switched between an
 receives a third
 user input             active mode and a passive mode for tracking a wireless device.
 specifying at least
                        Plaintiff further contends that the another portion of the system of computers that may be executing or loaded with Nokia Eden-
 one sector and an

        Infringement-Contentions Chart                                                                                               Page 70 of 95
        ’175-Patent Claim 1; T-Mobile Defendant
                                    Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 71 of 95
                                                        INFRINGEMENT CONTENTIONS
                                                      U.S. PATENT NO. 10,390,175 – CLAIM 1

      Claim 1                                                   Corresponding Structure in Accused Systems
error criteria to use   Net (or Nokia iSON or Nokia NetAct) solution can receive user input specifying at least one sector (for example, by selecting
in conjunction with     methods such as Management based MDT, Area based MDT, etc.) as well as an error criteria to use in conjunction with
generating the case     generating the case file.
file.                   The following exemplifies this limitation’s existence in Accused Systems:




                        Attachment 12 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                        (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace control and configuration
                        management (3GPP TS 32.422 version 10.10.0 Release 10) (2013)) at 10.




       Infringement-Contentions Chart                                                                                           Page 71 of 95
       ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 72 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




 Infringement-Contentions Chart                                                                  Page 72 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 73 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 18 (LTE RAN Release RL70 Feature Candidate Document (2013)) at 42.




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 Infringement-Contentions Chart                                                                  Page 73 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 74 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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 Infringement-Contentions Chart                                                                  Page 74 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 75 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 308 and 309.




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 66.


 Infringement-Contentions Chart                                                                             Page 75 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 76 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.




 Infringement-Contentions Chart                                                                  Page 76 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 77 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                            Corresponding Structure in Accused Systems
                 Attachment 16 (Monitoring and Measuring System in LTE RAN (2014)) at 9.




                 Attachment 17 (Tracing LTE RAN System (2012)) at 12.




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 Infringement-Contentions Chart                                                                  Page 77 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 78 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 8 and 9.




 Infringement-Contentions Chart                                                                  Page 78 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 79 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 7.



 Infringement-Contentions Chart                                                                  Page 79 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 80 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 10.

 Infringement-Contentions Chart                                                                  Page 80 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 81 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 6.




 Infringement-Contentions Chart                                                                  Page 81 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 82 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 12.




 Infringement-Contentions Chart                                                                  Page 82 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 83 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




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                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 51.




 Infringement-Contentions Chart                                                                  Page 83 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 84 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 52.




 Infringement-Contentions Chart                                                                  Page 84 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 85 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 …




                 Attachment 10 (NokiaEDU Eden-NET Overview Course (2017)) at 11.



 Infringement-Contentions Chart                                                                  Page 85 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 86 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 24.




 Infringement-Contentions Chart                                                                  Page 86 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 87 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 38.



 Infringement-Contentions Chart                                                                  Page 87 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 88 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 19 (Eden-Net with iSON Manager (2015)) at 7.




 Infringement-Contentions Chart                                                                  Page 88 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 89 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 19 (Eden-Net with iSON Manager (2015)) at 9.




 Infringement-Contentions Chart                                                                  Page 89 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 90 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 19 (Eden-Net with iSON Manager (2015)) at 12.




 Infringement-Contentions Chart                                                                  Page 90 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 91 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 14 (FDD-LTE15A, Feature Descriptions and Instructions (2015)) at 151.




 Infringement-Contentions Chart                                                                     Page 91 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 92 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 9 (Eden NET Training Program - T Mobile US, Inc. (2014)) at 10.




 Infringement-Contentions Chart                                                                  Page 92 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 93 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 17 (Tracing LTE RAN System (2012)) at 18.




 Infringement-Contentions Chart                                                                  Page 93 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 94 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                             Corresponding Structure in Accused Systems




                 Attachment 11 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace concepts and requirements
                 (3GPP TS 32.421 version 10.6.0 Release 10) (2013)) at 30.




                 Attachment 11 (Digital cellular telecommunications system (Phase 2+); Universal Mobile Telecommunications System
                 (UMTS); LTE; Telecommunication management; Subscriber and equipment trace; Trace concepts and requirements


 Infringement-Contentions Chart                                                                                Page 94 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
                              Case 6:22-cv-00991-ADA Document 2-9 Filed 09/21/22 Page 95 of 95
                                               INFRINGEMENT CONTENTIONS
                                             U.S. PATENT NO. 10,390,175 – CLAIM 1

Claim 1                                              Corresponding Structure in Accused Systems
                 (3GPP TS 32.421 version 10.6.0 Release 10) (2013)) at 22.




 Infringement-Contentions Chart                                                                   Page 95 of 95
 ’175-Patent Claim 1; T-Mobile Defendant
